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                         United States District Court
                        Southern District of New York

 United States of America,

                     Plaintiff,

 v.                                            Case No. 1:14-cr-00068-LGS

 Ross William Ulbricht

                     Defendant.

      RENEWED MOTION FOR ADMISSION PRO HAC VICE

      Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, hereby move this Court for an Order for

admission to practice pro hac vice to appear as counsel for Mr. Ross William Ulbricht,

Defendant in the above-captioned action.

      I am a member in good standing of the Bar of the state of Texas as well as

Colorado and there are no pending disciplinary proceedings against me in any state

or federal court. I have never been convicted of a felony. I have never been censured,

suspended, disbarred or denied admission or readmission by any court. I have

attached the affidavit required pursuant to Local Rule 1.3.




                   [Remainder of Page Left Blank Intentionally]




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Dated July 2, 2019.


                                       /s Zachary Lee Newland
                                       Zachary Lee Newland
                                       Senior Litigation Counsel
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                                       Counsel for Ross William Ulbricht


                       CERTIFICATE OF CONFERENCE

      I, Zachary L. Newland, hereby certify and affirm that prior to the filing of

this motion I conferred with opposing counsel for the United States to obtain their

position on this motion. Opposing counsel stated that they are unopposed to this

motion.

                                       s/ Zachary L. Newland
                                       Zachary Lee Newland




                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served this

2nd day of July 2019, via CM/ECF on all counsel of record.


                                       s/ Zachary L. Newland
                                       Zachary L. Newland




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